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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF INDIANA
                              INDIANAPOLIS DIVISION


 UNITED STATES OF AMERICA,                  )
                                            )
       Plaintiff,                           )
                                            )
              v.                            )
                                            )
 CHRISTOPHER TATE,                          )   CAUSE NO. 1:20-cr-96-TWP-DLP-01
 JOVAN STEWART,                             )                           -02
       a/k/a Peso,                          )
 ROBERT HINTON,                             )                               -03
 TIA DIMMETT,                               )                               -04
 LACEY GUZMAN,                              )                               -05
 SANDRA KELLOGG,                            )                               -06
 DESIRAE EVANS,                             )                               -07
 ERIC POORE,                                )                               -08
       a/k/a Hollywood,                     )
 JOSE RODRIGUEZ-CHAVEZ,                     )                               -09
       a/k/a Jalisco,                       )
       a/k/a Johnny,                        )
 JASON LEWIS,                               )                               -10
 DWYATT HARRIS,                             )                               -11
 DOROTHY KNIGHT, and                        )                               -12
 CHAYLON RUSH,                              )                               -13
                                            )
       Defendants,                          )


                              MOTION TO UNSEAL

       Comes now the United States of America, by counsel, Josh J. Minkler, United

 States Attorney for the Southern District of Indiana, and Bradley A. Blackington,

 Assistant United States Attorney, and
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 requests that the above-captioned cause be unsealed.

                                          Respectfully submitted,

                                          JOSH J. MINKLER
                                          United States Attorney


                                          s/Bradley A. Blackington
                                    By:
                                          Bradley A. Blackington
                                          Assistant United States Attorney
